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                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA
                              PITTSBURGH DIVISION

TONIE CHRISTY,                                 §       Docket No. 2:19-cv-00186-MJH
individually and on behalf                     §
of all others similarly situated,              §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §       JURY TRIAL DEMANDED
                                               §
TDT CONSULTING, LLC,                           §       CLASS/COLLECTIVE ACTION
                                               §
       Defendant.                              §       PURSUANT TO 29 U.S.C. § 216(b)/
                                               §       FED. R. CIV. P. 23

                         RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiff Tonie Christy provides the Court with an update regarding the status of this matter,

and hereby moves this Court for an extension of time for Defendant TDT Consulting, LLC (“TDT”)

to answer.

       This case was filed on February 20, 2019. ECF 1. Plaintiff promptly requested a summons

and attempted service on TDT through its registered agent, Tara Lane. See ECF 2. Plaintiff’s process

server provided Plaintiff with a return of service certifying that TDT was personally served on

February 26, 2019, and Plaintiff promptly filed the return of service. ECF 4.

       Service of TDT on February 26, 2019 made TDT’s answer due on March 19, 2019. After

giving TDT time to file its answer, Plaintiff acted diligently to move the case forward. On March 22,

Plaintiff reached out to Zachary Q. Pettigrew of Mayo, Mendolia & Vice, LLP, an attorney who

represented TDT in a recently filed case, Cervantez v. TDT Consulting, LLC, CA 3:18-CV-02547 (N.D.

Tex filed 09/25/2018). See Ex. A (3/22/19 emails). Notably, the Cervantez case also involved claims

that TDT violated the FLSA by misclassifying its workers as independent contractors and failing to

pay them overtime. See Ex. B (Cervantez Complaint and Answer).
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        Plaintiff notified Pettigrew that TDT had not answered a case filed in the Western District of

Pennsylvania and offered to confer with him before taking any additional steps. See Ex. A. Pettigrew

did not respond to these emails, but counsel was able to speak to him over the phone. At the time,

Pettigrew indicated that neither TDT nor Ms. Lane had spoken to him of this matter filed in the

Western District of Pennsylvania. See Ex. C, ¶ 8 (Dunlap Declaration).

        Since that time, Plaintiff has made almost daily telephone calls to Mr. Pettigrew seeking some

information on whether he will represent TDT in the instant case and whether TDT intends to answer.

Mr. Pettigrew did not answer or return any calls. See Ex. D, ¶ 8 (Liles Declaration).

        After the Court filed its Order to Show Cause, Plaintiff was able to contact the registered agent

for TDT, Tara Lane, on April 26, 2019. See Ex. D ¶ 9 (Liles Declaration). Ms. Lane confirmed that

Mr. Pettigrew will be representing TDT in this action, and that TDT intends to file an answer. Id.

Plaintiff requests additional time for TDT to file its answer and avoid default.

        While Plaintiff could have started the process for entry of default as early as March 19, he had

good reason to believe that TDT would dutifully respond to the service of process and answer the

complaint, as TDT had been sued recently in similar matter and had retained counsel for that action.

See Cervantez v. TDT Consulting, LLC, CA 3:18-CV-02547 (N.D. Tex filed 09/25/2018). Rushing to

enter a default judgment was not in the best interests of any party, and the Third Circuit and this

District actively “disfavor default judgments and encourage decisions on the merits.” See Culver v. U.S.

Dep't of Labor Occupational Safety & Health Admin., 248 F. App'x 403, 408 (3d Cir. 2007); Willaman v.

Erie Satellite Office of the Bureau of Alcohol, No. CV 13-229ERIE, 2014 WL 11474846, at *1 (W.D. Pa.

July 28, 2014).

        As demonstrated by the consistent and meaningful attempts at communication with TDT and

its anticipated counsel, Plaintiff has faithfully and diligently prosecuted his claim, seeking to engage in

meaningful litigation, rather than pursue a default which would likely be overturned and waste judicial
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resources. To further accomplish this end, Plaintiff requests an extension for TDT to file its answer,

and anticipates that the answer will be filed shortly. See Ex. C; Ex. D.

           WHEREFORE, Plaintiff respectfully request that this Court find that he has submitted

sufficient evidence showing his diligent prosecuting of his action, and request that Court further

extend the time for Defendant TDT to file its answer and avoid an unnecessary entry and reversal of

default.



                                                       Respectfully submitted,


                                                       By: /s/ Andrew W. Dunlap__
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                                                 ATTORNEYS IN CHARGE FOR PLAINTIFF


                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served by ECF electronic filing on all known

parties on this the 30th day of April 2019.




                                                     /s/ Andrew W. Dunlap__
                                                     Andrew W. Dunlap
